                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

 IN RE:                                               ) BANKRUPTCY CASE
                                                      )
 MARVIN REX RANKIN, III, and                          ) NO.: 20-80495-CRJ11
 MARY BETH LEMMOND RANKIN                             )
                                                      )
          Debtor.                                     )
                                                      )
                                                      )

          ORDER TERMINATING AUTOMATIC STAY AS TO PERSONAL PROPERTY

        This matter having come before the Court on August 24, 2020 upon the Motion for Relief from the

Automatic Stay and Co-Debtor Stay (hereinafter, “Motion for Relief”) of JPMORGAN CHASE BANK,

N.A. (hereinafter, “Movant”) [Docket #113], seeking relief from the automatic stay imposed by 11 U.S.C.

§362(a) as it relates to one 2016 Land Rover Range Rover motor vehicle, VIN SALGV2EFXGA298322,

(hereinafter referred to as “Collateral”), securing the claim of Movant and further described in Exhibit “A”

of the Motion for Relief filed with the Court. The Court considered the Motion and finds that good cause

exists to lift the stay and it is hereby ORDERED, ADJUDGED and DECREED as follows:

        The Motion for Relief is APPROVED, and the stay provided under 11 U.S.C. §362(a) is terminated

as it relates to the enforcement of the security interest in favor of Movant regarding the aforementioned

Property, and Movant, its successor and assigns, shall be free to enforce any and all of its respective rights,

title and interest in and to the aforementioned property, including, but not limited to, repossession and

liquidation of the collateral and removal and disposal of any personal property remaining in said Property,

in accordance with the provisions of the note, security agreement and in conformity with the laws of the

State of Alabama. This Order shall not be stayed pursuant to Fed.R.Bankr.P. 4001(a)(3). The provisions of

this Order shall continue to remain in force and effect upon the conversion of this case to any other chapter

of the Bankruptcy Code.

        IT IS FURTHER ORDERED Movant has leave to amend for a deficiency balance, if

applicable. Further, Movant shall be permitted to communicate with the Debtor’s counsel to the extent




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   necessary to comply with the applicable nonbankruptcy law.



   Dated this the 24th day of August, 2020.

                                                         /s/ Clifton R. Jessup, Jr.
                                                         Clifton R. Jessup, Jr.
                                                         United States Bankruptcy Judge



This Order prepared by:


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This Order approved by:

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